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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                SOUTHERN DIVISION


THE EMPLOYEE BENEFITS                               4:21-CV-04119-KES
ADMINISTRATION COMMITTEE, For
and On Behalf of Northwestern Energy
Flexible Compensation Plan and Its
Component Plan the Health Benefit
Plan for All Active Employees of
Northwestern Corporation, d/b/a,                 ORDER GRANTING JOINT
NorthWestern Energy                               MOTION TO DISMISS

                   Plaintiff,


       vs.

ALASKACARE RETIREE HEALTH PLAN,

                   Defendant.


      The parties in the above-captioned case jointly move to dismiss this case

with prejudice to the extent the complaint is based on acts or omissions

occurring before November 23, 2021, and is otherwise dismissed without

prejudice, with each party to bear its own costs, expenses, and attorney’s fees

and other expenses incurred in connection with this action, except to the

extent expressly provided otherwise in the parties’ settlement agreement.

Docket 24. Thus, it is

      ORDERED that the plaintiff’s complaint is dismissed with prejudice to

the extent the complaint is based on acts or omissions occurring before

November 23, 2021, and is otherwise dismissed without prejudice, with each
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party to bear its own costs, expenses, and attorney’s fees and other expenses

incurred in connection with this action, except to the extent expressly provided

otherwise in the parties’ settlement agreement.

      Dated December 8, 2021.

                                     BY THE COURT:


                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE
